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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
____________________________________
                                     )
JOHN BARNHARDT, et al.,              )
                                     )
            Plaintiffs,              )
                                     )
      and                            )
                                     )
UNITED STATES OF AMERICA,            )    Civil Action No. 4:65-cv-01300-HTW-LRA
                                     )    1300(E)
            Plaintiff-Intervenor,    )
                                     )
      v.                             )
                                     )
MERIDIAN MUNICIPAL SEPARATE          )
SCHOOL DISTRICT, et al.,             )
                                     )
            Defendants.              )
____________________________________)

    REPLY IN SUPPORT OF PRIVATE PLAINTIFFS’ MOTION TO SEEK LEAVE
            TO RE-DESPOSE AN UNPREPARED 30(b)(6) DESIGNEE

       Private Plaintiffs John Barnhardt et al. (collectively, “Plaintiffs”) respectfully submit this

Reply in support of their Motion for an Order Seeking Leave to Re-Depose Meridian Public School

District Police Department (“MPSDPD”) Chief Ricardo Clayton (“Chief Clayton”). ECF No. 117.

       For reasons stated in Plaintiffs’ Motion, Plaintiffs maintain their position that the District

failed to adequately prepare Chief Clayton as required by Federal Rule of Civil Procedure 30(b)(6).

Mem. in Supp. of Mot. to Seek Leave, ECF No. 118 at 3-7. Although the District agreed to move

forward with the request to re-depose Chief Clayton in response to this Motion, Exhibit 1, Plaintiffs

submit this Reply to correct misrepresentations in the District’s Response.

       First, in addition to the topic areas listed in the District’s Response, Plaintiffs also intend

to re-depose Chief Clayton about trainings required under the Memorandum of Understanding

between the Meridian Police Department and MPSDPD. Id. Further, if any of Chief Clayton’s
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responses lead to other relevant areas of inquiry, Plaintiffs reserve the right to ask follow-up

questions into those areas as well. Id.

       Second, Plaintiffs deny the District’s allegations that Plaintiffs did not provide documents

to Chief Clayton during the deposition. Chief Clayton testified about several topics for which the

District did not provide Plaintiffs with documents, which would have been required under the 2013

Consent Order, ECF No. 36 at ¶ 109, or that he incorrectly stated were outdated. The District

provided clarification about some of these documents in its verified responses to the United States’

first set of interrogatories, requests for production of documents, and requests for admissions,

which were filed after the deposition. Exhibit 2.

Dated: November 28, 2018

                                                    Respectfully Submitted,



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                                                    Counsel for Private Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of November 2018, I electronically filed the foregoing

with the Clerk of the Court using the ECF system, which sent notification of this filing to all

counsel record.


                                                    /s/ John S. Cusick
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